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  JOHN CHIGBU                                                                                                TRANS UNION, LLC, ET AL.
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      F      $WWRUQH\V(Firm Name, Address, and Telephone Number)                                               $WWRUQH\V(If Known)
 Todd M. Friedman, Esq., Law Offices of Todd M. Friedman, P.C., 21550                                        David Streza, Esq., Vogl Meredith Burke LLP, 456 Montgomery Street, 20th
 Oxnard Street, Suite 780, Woodland Hills, CA 91367, (323) 306-4234                                          Floor, San Francisco, CA 94104, (415) 398-0200
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   ,;    'LYLVLRQDO$VVLJQPHQW,IWKH1DWXUHRI6XLWLVXQGHU 3URSHUW\ 5LJKWV RU3ULVRQHU3HWLWLRQVRUWKH PDWWHULVD 6HFXULWLHV&ODVV$FWLRQOHDYH WKLV
          VHFWLRQ EODQN)RUDOORWKHUFDVHVLGHQWLI\WKHGLYLVLRQDO YHQXHDFFRUGLQJWR&LYLO/RFDO5XOH³WKHFRXQW\ LQZKLFKDVXEVWDQWLDOSDUWRI WKH
          HYHQWVRU RPLVVLRQVZKLFKJLYHULVHWR WKH FODLP RFFXUUHG RULQZKLFKDVXEVWDQWLDOSDUWRI WKH SURSHUW\WKDWLVWKHVXEMHFWRI WKH DFWLRQLVVLWXDWHG´
   'DWHDQG$WWRUQH\6LJQDWXUH 'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
               Case 4:21-cv-06053-HSG Document 1 Filed 08/05/21 Page 3 of 3




 1                              John Chigbu vs. Sunrise Credit Services, Inc., et al.
                                 U.S.D.C. Northern District of California Case No.
 2

 3                                       CERTIFICATE OF SERVICE

 4          I, Katherine Eng, declare as follows:
 5          I am a citizen of the United States, I am over the age of eighteen (18) years and am not a party to
 6   this action. I am employed in the City and County of San Francisco, State of California, and my
 7   business address is 456 Montgomery Street, 20th Floor, San Francisco, California, 94104.
 8          On August 5, 2021, I served or caused the within: Civil Case Cover Sheet on the attorney(s) of
 9   record in this action as follows:
10      X           by placing a true copy thereof enclosed in a sealed envelope with postage thereon fully
                    prepaid, and deposited the same for collection and mailing at San Francisco, California,
11                  following ordinary business practices, addressed as set forth below.
12   Plaintiff’s Attorney:
     Todd M. Friedman, Esq.
13   Adrian R. Bacon, Esq.
     Law Offices of Todd M. Friedman, P.C.
14
     21550 Oxnard Street, Suite 780
15   Woodland Hills, California 91367
     Telephone No: (323) 306-4234
16   Facsimile No: (866) 633-0228
     Email:          tfriedman@toddflaw.com
17                   abacon@toddflaw.com
18

19          I am readily familiar with this law firm’s practice for the collection and processing of documents
20   for mailing, Federal Express overnight mail, and facsimile transaction and said document(s) are
21   deposited with the United States Postal Service or Federal Express depository on the same day in the
22   ordinary course of business.
23          I declare under penalty of perjury under the laws of the State of California that the foregoing is
24   true and correct and that this declaration was executed on August 5, 2021, in San Francisco, California.
25
                                                          ________________________________
                                                                 ___
                                                                  _____
                                                                     _ ____
26                                                        Katherine
                                                                 nee Eng
                                                                      n
27

28
                                                       1
                                             CERTIFICATE OF SERVICE
